          Case 5:09-cv-00230-cr Document 2196 Filed 02/06/19 Page 1 of 1




                                   NOTICE OF HEARING




                    UNITED STATES DISTRICT COURT
                                        FOR THE
                                  DISTRICT OF VERMONT


Alice H. Allen, et al.,

         v.                                       Case No. 5:09-cv-230

Dairy Farmers of America, et al



TAKE NOTICE that the above-entitled case has been scheduled at 3:00 p.m., on,
Wednesday, February 20, 2019, in Burlington, Vermont, before Honorable Christina Reiss,
District Judge, for a Telephone Conference.

Location: 542                                     JEFFREY S. EATON, Clerk
                                                  By: /s/ Jennifer B. Ruddy
                                                  Deputy Clerk
                                                  2/6/2019



TO:

Andrew Manitsky, Esq.                            Alfred Pfeiffer, Esq.
Brent Johnson, Esq.                              Amber McDonald, Esq.
Danyll Foix, Esq.                                Carl Metz, Esq.
Emily Joselson, Esq.                             Elyse Greenwald, Esq.
Gregory Commins, Jr., Esq.                       Ian Carleton, Esq.
Kit Pierson, Esq.                                Jennifer Giordano, Esq.
Lisa Shelkrot, Esq.                              Jonathan Pitt, Esq.
Robert Abrams, Esq.                              Kevin Hardy, Esq.
Robert Brookhiser, Esq.                          Lauren Collogan, Esq.
Terry Sullivan, Esq.                             Peggy Zwisler, Esq.
Daniel Smith, Esq.                               R. Jeffrey Behm, Esq.
Richard Cassidy, Esq.                            Steven Kuney, Esq.
                                                 W. Todd Miller, Esq.
Anne Pierce, Court Reporter
